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                      4 Attorneys for Defendant
                           WQAS KHAN
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                      6

                      7                         UNITED STATES DISTRICT COURT

                      8                        EASTERN DISTRICT OF CALIFORNIA

                      9

                      10 UNITED STATES OF AMERICA,

                      11                Plaintiff,                2:10-cr-00175 KJM

                      12        v.                                STIPULATION AND ORDER
                                                                  CONTINUING STATUS
                      13 WQAS KHAN and MIRANDA ESPINOZA,          CONFERENCE HEARING

                      14                Defendants.
                                                        /
                      15
                                At the request of the parties, the Court enters this order
                      16
                           (1) continuing the status hearing presently set for February 24,
                      17
                           2011 at 10:00 a.m. before the Honorable Judge Kimberly J.
                      18
                           Mueller to April 28, 2011 at 10:00 a.m.; and (2) excluding time
                      19
                           under the Speedy Trial Act from February 24, 2011, based on the
                      20
                           following:
                      21
                           1.   The requested continuance is predicated in large part on
                      22
                                outstanding discovery based issues which must be resolved
                      23
                                prior to setting a briefing schedule on Defendant’s Motion
                      24
                                to Traverse the Warrant in this matter.          Currently pending
                      25
                                before this Court is a Motion Objecting to the Magistrate’s
                      26
                                Denial of Defendant’s Henthorn Motion, filed on December
                      27
LAW OFFICES                     21, 2011, Docket No. 60.
 506 BROADWAY         28
SAN FRANCISCO
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                           Case 2:10-cr-00175-KJM Document 79 Filed 02/22/11 Page 2 of 3


                      1 2.     Furthermore, the defense filed a Motion to Compel Discovery

                      2        before the Magistrate Court on December 29, 2010, Docket

                      3        No. 61.    On February 9, 2011, Magistrate Judge Gregory G.

                      4        Hollows vacated this Motion to Compel Discovery without

                      5        prejudice (Docket No. 76) pending this Court’s decision on

                      6        the Henthorn issue.

                      7 3.     Once both of these matters are resolved, the defense will

                      8        be in a position to set a briefing schedule on the Motion

                      9        to Traverse the Warrant.

                      10 4.    The parties further stipulate that the time between

                      11       February 24, 2011 and April 28, 2011, should be excluded

                      12       from the calculation of time under the Speedy Trial Act.

                      13       The parties stipulate that the ends of justice are served

                      14       by the Court excluding such time, so that counsel for each

                      15       defendant may have reasonable time necessary for effective

                      16       preparation, taking into account the exercise of due

                      17       diligence.    18 U.S.C. § 3161(h)(7)(B)(iv) and local rule

                      18       code T4.    Specifically, as set forth above, ongoing

                      19       discovery production and requests are occurring as well as

                      20       preparation for future motion practice.          The parties

                      21       stipulate and agree that the interests of justice served by

                      22       granting this continuance outweigh the best interests of

                      23       the public and the defendant in a speedy trial.             18 U.S.C.

                      24       § 3161(h)(7)(A).

                      25       THE PARTIES THEREFORE STIPULATE that the continuance of the

                      26 status hearing to April 28, 2011 at 10:00 a.m. is warranted such

                      27 that the ends of justice served by granting such a continuance
LAW OFFICES
 506 BROADWAY         28 outweigh the best interests of the public and the defendant in a
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                      1 speedy trial.

                      2

                      3 Dated: February 22, 2011                     Dated:   February 22, 2011

                      4  /s/ SHARI L. WHITE                          /s/GILBERT A. ROQUE
                        SHARI L. WHITE                               GILBERT A. ROQUE
                      5 Attorney for WQAS KHAN                       Attorney for MIRANDA ESPINOZA

                      6
                           Dated:   February 22, 2011
                      7

                      8 /s/JASON HITT
                           JASON HITT, AUSA
                      9

                      10
                                                             ORDER
                      11
                                Good cause appearing, and based upon the stipulation of the
                      12
                           parties,
                      13
                                IT IS HEREBY ORDERED that the status hearing in this matter
                      14
                           is continued to April 28, 2011 at the hour of 10:00 a.m. and
                      15
                           that time is excluded as stipulated, as well as based on Local
                      16
                           Code E in light of the motion pending.
                      17

                      18
                                IT IS SO ORDERED.
                      19
                                Dated: February 22, 2011.
                      20

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                      22
                                                              UNITED STATES DISTRICT JUDGE
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